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Plaintiff,

vs. HGTIO_N GRMTED MMM-cr- 20181- me

` JON PHIPPS} ECCALLA
TERRY LEE DOWNS' U. S. DISTRICT JUDGI'J

 
  
   

Defendant. 3 ?O'd§

 

SUPPLEMENTAL REQUEST TO RESET SURRENDER DATE

 

Comes now Terry Lee Downs, by and through his attorney of
record, T. Clifton Harviel, and respectfully requests that this
Honorable Court reset his surrender date. Movant would show unto
the Court that he entered a guilty plea to a charge of violation of
probation and that the Court sentenced him to a period of six
months incarceration, followed by further supervision. Mr. Downs
has previously received an extension of his surrender date and is
currently due to surrender on June 15, 2005.

As Mr. Downs has previously shown unto the Court, he is a
contractor. At the time of his original request he was engaged in
two particular jobs and he respectfully requested time to finish
them before surrendering to do his sentence. With regard to the
job at 5297 Callingwood, the home of Mr. Billy Tedford and one of
those two original jobs, Mr. Downs has run into inadvertent delays.

The first problems began when a change order was issued by the

homeowner. The change order called for the moving of a bathroo

   
    

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wall, which is normally a delay but which became much more labor
intensive, complicated and a greater delay than normal when the
first two marble tiles were removed. Upon removing the first two
tiles, the heated floor underneath the tiles was damaged.
Therefore, the entire bathroom floor had to be removed, the heated
floor repaired, and then all the marble tiles returned. All the
bathroom fixtures and walls had to be moved to accommodate the
change order. Those delays caused other delays regarding
subcontractors and when they could appear to do their rescheduled
work. _Further, there was another delay due to the unavailability
of materials. The DBM Flooring Plant was damaged in a fire and
therefore, there has been a limited amount of DBM flooring
available for contractors. Mr. Downs has had difficulty in
securing the appropriate material and therefore has encountered
additional delay.

Mr. Downs understands that he has a six month sentence to
satisfy and he is not seeking to avoid the service of his sentence.
He is, however, seeking to avoid damaging both his professional
reputation and the innocent customer whose home he is remodeling.
The Court may recall that the homeowner, Mr. Tedford, submitted a
signed statement concerning the work Mr. Downs was doing. Said
statement was attached to the initial request ito reset the
surrender date.

Mr. Downs is thankful for and grateful to the Court for the

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time that it has extended to him by initially resetting the
surrender date. Unfortunately, he has not been able to complete
the Tedford job due to aforementioned delays, which were beyond
his control. He is respectfully requesting that the Court delay
his surrender date an additional eight weeks to allow him to finish
the Tedford job.

Mr. Downs understands that the Court has no obligation to
reset his surrender date. He assures the Court that this will not
become a repetitive request. He simply requests a second extension
due to circumstances which were beyond his control.

'WHEREFORE, PREMISES CONSIDERED, movant respectfully prays:

l. This Court reset his surrender date for an additional
period of eight weeks herein, and/or;

2. That this Court order such other relief herein as truth

dictates and justice demands.

Respectfully submitted,

      

on Harviel (5589)
Attor ey for Defendant
Suite 850

50 N. Front Street
Memphis, Tennessee 38103
(901) 543-9799

  

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Certificate of Service

l hereby certify that l have served a copy of the foregoing
upon Mr. Tim DiScenza, Assistant United States Attorney, 167 N.
Main Street, Bth Floor, Memphis, Tennessee 38103, this 9th day of
Jun@, 2005§

    

n Harviel

   

UNITED sTATE DRISTIC COURT - WESTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:03-CR-20181 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

